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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KARGO GLOBAL, INC.,
                             Petitioner,
                                                      20 Civ. 7535 (KPF)
                      -v.-
SARAH ANGELETTE,                                            ORDER

                             Respondent.

KATHERINE POLK FAILLA, District Judge:

      The parties are hereby ORDERED to submit to the Court the

“Shareholder Agreement” cited in The Declaration of Sarah Angelette in

Support of Opposition to Petition to Compel Arbitration at paragraphs 5-8.

(Dkt. #13). The Court understands that Petitioner considers the Shareholder

Agreement to be a confidential document. (Id. at ¶ 8). Therefore, the parties

shall file this document under seal, viewable only to the Court and parties.

The parties shall submit a copy of the Shareholder Agreement to the Court on

or by November 6, 2020.

      SO ORDERED.

Dated:       November 2, 2020
             New York, New York            __________________________________
                                                KATHERINE POLK FAILLA
                                               United States District Judge
